              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                 CIVIL CASE NO. 1:15-cv-00109-MR


SANDRA M. PETERS, on behalf of   )
herself and all others similarly )
situated,                        )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )               ORDER
                                 )
AETNA INC., AETNA LIFE           )
INSURANCE COMPANY, and           )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                            )
                                 )
                   Defendants.   )
________________________________ )

      THIS MATTER is before the Court on the Plaintiff’s Motion for Leave

to File Sur-Surreply in Support of Plaintiff’s Motion for Class Certification

[Doc. 268].

      On October 22, 2021, the Defendants sought leave to file a sur-reply

in opposition to the Plaintiff’s motion for class certification. [Doc. 263]. The

Court granted the Defendants’ motion. [Text-Only Order entered Oct. 25,

2021]. The Plaintiff now seeks leave to file a “sur-surreply” in response to

the Defendants’ surreply. [Doc. 269].




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      Neither the Federal Rules of Civil Procedure nor this Court’s Local

Rules contemplate the filing of “sur-surreplies.” This matter has been briefed

ad nauseam. At some point, the endless rounds of briefing must end. The

Plaintiff’s motion for leave to file a “sur-surreply” is denied.

      IT IS, THEREFORE, ORDERED that the Plaintiff’s Motion for Leave to

File Sur-Surreply in Support of Plaintiff’s Motion for Class Certification [Doc.

268] is DENIED.

       IT IS SO ORDERED.
                      Signed: October 29, 2021




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